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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF OKLAHOMA

 RICHARD GLOSSIP, et al.,                  )
                                           )
        Plaintiffs,                        )
                                           )
              vs.                          )       Case No. CIV-14-665-F
                                           )
 RANDY CHANDLER, et al.,                   )
                                           )
        Defendants.                        )

                             FINAL PRETRIAL REPORT

All counsel who will appear at trial:

Appearing for Plaintiffs: Emma Rolls, Michael K. Robles, James K. Stronski, Kenton
Walker, Anne Li, Adam Singer, Dale A. Baich, Jennifer M. Moreno, Alex Kursman, Lynne
Leonard

Appearing for Defendants: Mithun Mansinghani, Bryan Cleveland, Zach West, Andy N.
Ferguson, Audrey Weaver

              Jury Trial Demanded □ - Non-Jury Trial ☒

1.     BRIEF PRELIMINARY STATEMENT.

       Plaintiffs:     Oklahoma’s lethal injection protocol violates the Eighth Amendment
       by subjecting death-sentenced prisoners, including Plaintiffs, to a constitutionally
       intolerable level of pain and suffering during their executions. Midazolam cannot
       render a prisoner insensate to the pain and suffering caused by injection of the
       second two drugs in Oklahoma’s three-drug protocol or that caused by flash
       pulmonary edema, and Defendants have failed to implement safeguards sufficient
       to prevent a sensate prisoner from experiencing that pain and suffering. At least
       three alternative methods of execution are feasible, readily implemented, and would
       significantly reduce the substantial risk of severe pain caused by the current
       protocol. Oklahoma’s three-drug protocol creates a substantial risk of severe pain
       and suffering that is at least very likely to cause serious illness and needless
       suffering. This risk also is substantial when compared to the at least three available
       alternatives.




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     Its action requires for each molecule of Midazolam both a GABA receptor that is
     not already bound to a Midazolam molecule in addition to a GABA molecule
     available to bind to that GABA receptor. There is no activity without both the
     presence of a GABA receptor and a GABA molecule for that receptor. Once the
     number of Midazolam molecules exceeds the number of GABA receptors,
     saturation is achieved and no further sedation may take place. Midazolam is not
     approved to maintain anesthesia and is approved as a sedative, and also to induce
     anesthesia when followed by another anesthetic. The Oklahoma Execution Protocol
     uses a dose of Midazolam that is about 10 times the high range of clinical dose.

     Defendants: Oklahoma’s lethal injection protocol does not violate the Eighth
     Amendment. Midazolam, when used as the first drug in a three-drug protocol,
     renders inmates unconscious and insensate to pain. Plaintiffs cannot demonstrate a
     substantial risk of severe pain is likely to occur from the administration of
     Oklahoma’s lethal injection protocol. They also cannot prove a known and readily
     available alternative that would substantially reduce any risk of severe pain.

2.   JURISDICTION.

     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, 28 U.S.C.
     § 1343, and 42 U.S.C. § 1983 because this action arises and seeks relief under the
     laws and Constitution of the United States, and 28 U.S.C. § 2201 (declaratory
     relief), and 28 U.S.C. § 2202 (injunctive relief).

3.   STIPULATED FACTS.

     On February 20, 2020, the Oklahoma Department of Corrections issued a 54-page
     protocol for “Execution of Inmates Sentenced to Death.”

     Oklahoma’s Execution Protocol allows for the use of three possible lethal drug
     regimens: “One (1) Drug Protocol with Pentobarbital” at a 5 gram dose (Chart A),
     One (1) Drug Protocol with Sodium Pentothal” at a 5 gram dose (Chart B), or “Three
     (3) Drug Protocol with Midazolam, Vecuronium Bromide and Potassium Chloride”
     (Chart D).

     Sodium thiopental—the barbiturate specified in Chart B—is not currently
     manufactured by any U.S. company.

     Oklahoma’s third lethal drug regimen, Chart D, calls for intravenous injection of
     500 milligrams (mg) of midazolam in two syringes, followed by 100 mg of
     vecuronium bromide in two syringes, then 240 milliequivalents of potassium
     chloride in two syringes, with 60 milliliters IV flush of heparin/saline after each of
     the three execution drugs.


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     The American Society of Anesthesiologists (ASA) has approved a document titled
     “Continuum of Depth of Sedation.” According to this document, “Deep
     Sedation/Analgesia is a drug-induced depression of consciousness during which
     patients cannot be easily aroused but respond purposefully following repeated or
     painful stimulation.” Under Deep Sedation, “[t]he ability to independently maintain
     ventilatory function may be impaired” and “[p]atients may require assistance in
     maintaining a patent airway.” According to the ASA, “General Anesthesia is a drug-
     induced loss of consciousness during which patients are not arousable, even by
     painful stimulation.” Under General Anesthesia, “[t]he ability to independently
     maintain ventilatory function is often impaired” and “[p]atients often require
     assistance in maintaining a patent airway.” It further states that “Reflex withdrawal
     from a painful stimulus is NOT considered a purposeful response.”

     Midazolam is a benzodiazepine central nervous system depressant. Midazolam
     depresses the central nervous system (including the brain) by binding to GABA
     (gamma-aminobutyric acid) receptors, increasing the effect of GABA, the primary
     inhibitor of neurotransmission.

     The administration of vecuronium bromide at sufficient doses will paralyze muscle,
     including the diaphragm, which will stop breathing. When vecuronium bromide
     inhibits breathing, it will cause hypoxia, which will lead to unconsciousness (if
     consciousness has not already been lost) and death. The Oklahoma Execution
     Protocol uses a dose of vecuronium bromide that is about 10 times the clinical dose.

4.   LEGAL ISSUES. State separately, and by party, each disputed legal issue and the
     authority relied upon.

     Plaintiffs:

     1.      Whether Plaintiffs have proven, by a preponderance of evidence, that
             Oklahoma’s three-drug execution protocol is sure or very likely to cause
             serious illness and needless suffering? Bucklew v. Precythe, 139 S. Ct. 1112
             (2019); Glossip v. Gross, 576 U.S. 863, 867 (2015); Baze v. Rees, 553 U.S.
             35 (2008).

     2.      Whether Plaintiffs have proven, by a preponderance of evidence, that
             modification of Oklahoma’s three-drug protocol with the addition of fentanyl
             as a premedication and/or removal of the vecuronium bromide paralytic (a)
             will significantly reduce the risk of a prisoner remaining sensate and
             therefore suffering during the execution, and (b) is readily available?
             Bucklew v. Precythe, 139 S. Ct. 1112 (2019); Glossip v. Gross, 576 U.S. 863,
             867 (2015); Baze v. Rees, 553 U.S. 35 (2008).



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     3.      Whether Plaintiffs have proven, by a preponderance of evidence, that a single
             dose of either pentobarbital or sodium thiopental with a pre-dose of an
             analgesic drug such as fentanyl (a) will significantly reduce the risk of a
             prisoner remaining sensate and therefore suffering during the execution, and
             (b) is readily available? Bucklew v. Precythe, 139 S. Ct. 1112 (2019); Glossip
             v. Gross, 576 U.S. 863, 867 (2015); Baze v. Rees, 553 U.S. 35 (2008).

     4.      Whether Plaintiffs have proven, by a preponderance of evidence that death
             by firing squad (a) will significantly reduce the substantial risk of severe pain
             and suffering from Oklahoma’s three-drug protocol, and (b) is readily
             available? Bucklew v. Precythe, 139 S. Ct. 1112 (2019); Glossip v. Gross,
             576 U.S. 863, 867 (2015); Baze v. Rees, 553 U.S. 35 (2008).

     Defendants:

     5.      Whether Plaintiffs have proven that Oklahoma’s lethal injection protocol
             using Midazolam poses a substantial risk of severe pain for Plaintiffs in the
             carrying out of their death sentences. Bucklew v. Precythe, 139 S. Ct. 1112
             (2019); Glossip v. Gross, 576 U.S. 863, 867 (2015); Baze v. Rees, 553 U.S.
             35 (2008); Warner v. Gross, 776 F.3d 721 (10th Cir. 2015); Doc. 550 (Tenth
             Circuit Opinion); Doc. 597 (Tenth Circuit Opinion).

     6.      Whether Plaintiffs have proven there is a known and readily available
             alternative Oklahoma can use to substantially reduce any risk of severe pain
             from Oklahoma’s existing execution protocol.


5.   CONTENTIONS AND CLAIMS FOR DAMAGES OR OTHER RELIEF
     SOUGHT.

     A.      Plaintiffs: Plaintiffs seek findings and a declaration from this Court that they
             have met their burden on Prongs I and II under the Baze/Glossip standard,
             that Oklahoma’s current lethal injection protocol presents a substantial risk
             of severe pain, and alternative methods of execution that significantly reduce
             the risk of severe pain are readily available.

     B.      Defendants: Defendants contend that Oklahoma’s lethal injection protocol
             does not violate the Eighth Amendment. They seek denial of Plaintiffs’
             claims and relief sought, and judgment rendered in Defendants’ favor.

6.   EXHIBITS. The following exclusionary language MUST be included:

     Unlisted exhibits will not be admitted unless, by order of the court, the final pretrial
     order is amended to include them.

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     A.      Plaintiff:      See Attached
                                                             Federal Rule of
             Number       Title/Description Objection        Evidence Relied Upon
             (Premarked for trial and exchanged as required under LCvR39.4(a)

     B.      Defendant:

                                                             Federal Rule of
             Number       Title/Description Objection        Evidence Relied Upon
             (Premarked for trial and exchanged as required under LCvR39.4(a)

7.   WITNESSES: The following exclusionary language MUST be included:

     Unlisted witnesses in chief will not be permitted to testify unless, by order of the
     court, the final pretrial order is amended to include them.

     A.      Plaintiffs:

      NAME                       ADDRESS                           PROPOSED
                                                                   TESTIMONY

      Craig W. Stevens,          OSU-Center for Health             Testimony regarding
      Ph.D.                      Sciences, College of              the pharmacology of
                                 Osteopathic Medicine              the three drugs used
                                 1111 W. 17th St.                  in Oklahoma’s lethal
                                 Tulsa, OK 74107                   injection protocol

      Mark Allen Edgar,          1292 Timberland Dr SE             Medical testimony on
      M.D.                       Marietta, GA 30067                autopsies of prisoners
                                                                   executed with
                                                                   midazolam protocols
                                                                   based on the
                                                                   discipline of
                                                                   pathology

      James S. Williams,         5260 County Road 120, Unit        Testimony on the
      M.D.                       B                                 significantly reduced
                                 Clyde, TX 79510                   risk of suffering and
                                                                   the availability of the
                                                                   firing squad as an
                                                                   alternative

      David Howard               University of Michigan            Testimony regarding
      Sherman, Ph.D.             Life Sciences Institute           the availability of
                                 210 Washtenaw Avenue              pentobarbital and

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                        Ann Arbor, MI 48109        thiopental as readily
                                                   synthesized
                                                   chemicals

Reginald A. Wilkinson, 44 Buttles Avenue           Testimony regarding
Ed.D.                  Columbus, OH 43215          the substantial risk of
                                                   harm posed by the
                                                   protocol, the lack of
                                                   penological
                                                   justification for
                                                   provisions the
                                                   protocol, and the lack
                                                   of a penological
                                                   impediment to
                                                   implementation of
                                                   alternatives

Michael L.              622 West 168th Street      Medical testimony on
Weinberger, M.D.        PH 5E-500                  the three-drug
                        New York, NY 10032         protocol based on the
                                                   disciplines of
                                                   anesthesiology and
                                                   pain medicine

Gail Van Norman,        University of Washington   Medical testimony on
M.D.                    1959 NE Pacific St.        the executions of
                        Seattle, WA 98195          John Grant, Bigler
                                                   Stouffer, Donald
                                                   Grant and Gilbert
                                                   Postelle based on the
                                                   discipline of
                                                   anesthesiology

Daniel E. Buffington,   Clinical Pharmacology      Testimony that a
PharmD, MBA             Services, Inc.             person of his skill in
                        6285 E. Fowler Ave.        pharmacy could
                        Tampa, FL 33617            easily compound
                                                   sterile injectable
                                                   pentobarbital, and
                                                   that there are
                                                   compounding
                                                   pharmacies that can
                                                   easily prepare sterile


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                                                      injectable
                                                      pentobarbital

Scott Crow                Oklahoma Department of      Testimony on the
                          Corrections                 development and
                          3400 North Martin Luther    implementation of
                          King Avenue                 Oklahoma’s protocol
                          Oklahoma City, OK 73111     and the efforts to
                                                      obtain alternatives,
                                                      including
                                                      pentobarbital,
                                                      thiopental and/or
                                                      analgesics such as
                                                      fentanyl

Justin Farris             Oklahoma Department of      Testimony on the
                          Corrections                 development and
                          3400 North Martin Luther    implementation of
                          King Avenue                 Oklahoma’s protocol
                          Oklahoma City, OK 73111     and the efforts to
                                                      obtain alternatives,
                                                      including
                                                      pentobarbital,
                                                      thiopental and/or
                                                      analgesics such as
                                                      fentanyl

Jason Bentley             Oklahoma Department of      Testimony on the
                          Corrections                 development and
                          3400 North Martin Luther    implementation of
                          King Avenue                 Oklahoma’s protocol
                          Oklahoma City, OK 73111     and the efforts to
                                                      obtain alternatives,
                                                      including
                                                      pentobarbital,
                                                      thiopental and/or
                                                      analgesics such as
                                                      fentanyl



B.      Defendant:

        Name              Address            Proposed Testimony

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Joseph F. Antognini,   6440 N. Swan Road, Suite   Testimony based on
M.D.                   100                        his expertise as a
                       Tucson, AZ 85718           physician and
                                                  anesthesiologist, and
                                                  his extensive review
                                                  of the scientific
                                                  literature, regarding
                                                  the ability of a 500
                                                  mg dose of
                                                  midazolam to render
                                                  inmates unconscious
                                                  and insensate to any
                                                  pain associated with
                                                  Oklahoma’s
                                                  execution drugs, its
                                                  relation to pulmonary
                                                  edema found in
                                                  executed inmates, its
                                                  effectiveness as
                                                  shown in recent
                                                  executions in
                                                  Oklahoma, the ability
                                                  of IV team members
                                                  to implement the
                                                  protocol, the
                                                  adequacy of
                                                  consciousness checks
                                                  performed by the IV
                                                  Team leader, and the
                                                  pain associated with
                                                  other execution
                                                  methods like hanging
                                                  and the firing squad

Ervin Yen, M.D.        SSM Health                 Testimony based on
                       608 NW 9th St.             his expertise as an
                       Suite 6210                 anesthesiologist, his
                       Oklahoma City, OK 73102    experience with drugs
                                                  like midazolam,
                                                  regarding the ability
                                                  of a 500 mg dose of
                                                  midazolam to render
                                                  inmates unconscious

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                                                   and insensate to pain,
                                                   midazolam’s relation
                                                   to pulmonary edema
                                                   found in executed
                                                   inmates, its
                                                   effectiveness as
                                                   shown in recent
                                                   executions, the ability
                                                   of IV team members
                                                   to implement the
                                                   protocol, the
                                                   adequacy of
                                                   consciousness checks
                                                   performed by the IV
                                                   Team leader, and the
                                                   pain associated with
                                                   the firing squad

Daniel E. Buffington,   Clinical Pharmacology      Testimony regarding
PharmD, MBA             Services, Inc.             his pharmacologic
                        6285 E. Fowler Ave.        knowledge regarding
                        Tampa, FL 33617            drugs used in
                                                   Oklahoma’s lethal
                                                   injection protocol.

Scott Crow              Oklahoma Department of     Testimony regarding
                        Corrections                the features and
                        3400 North Martin Luther   safeguards of
                        King Avenue                Oklahoma’s
                        Oklahoma City, OK 73111    execution protocol,
                                                   his interpretation and
                                                   implementation
                                                   thereof, and the
                                                   efforts taken by the
                                                   department to obtain
                                                   drugs for executions.

Justin Farris           Oklahoma Department of     Testimony regarding
                        Corrections                his observations on
                        3400 North Martin Luther   recent executions and
                        King Avenue                processes related to
                        Oklahoma City, OK 73111    those executions; his
                                                   knowledge of and

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                                                                    experience with the
                                                                    execution trainings
                                                                    conducted by the
                                                                    Department of
                                                                    Corrections; and the
                                                                    Department’s efforts
                                                                    to obtain drugs for
                                                                    use in executions.



8.     ESTIMATED TRIAL TIME:

       A.     Plaintiffs’ Case: 3 days

       B.     Defendants’ Case: 2 days

       C.     If you desire to have a daily copy or any other extraordinary court reporter
              services during trial, you must so notify the Chief Deputy Court Clerk a
              minimum of two weeks before the date the case is scheduled to be called for
              trial.

9.     BIFURCATION REQUESTED:                    No

10.    POSSIBILITY OF SETTLEMENT: Poor

        All parties approve this report and understand and agree that this report supersedes
all pleadings, shall govern the conduct of the trial, and shall not be amended except by
order of the court.

Respectfully submitted this 25th day of February, 2022.

                                   s/ Emma V. Rolls___________
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                                   Michael K. Robles (admitted pro hac vice)
                                   James K. Stronski (admitted pro hac vice)
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                      Mithun Mansinghani,
                        Solicitor General
                      Bryan Cleveland
                      Zach West

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                                    Andy N. Ferguson
                                    Audrey Weaver
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                                    COUNSEL FOR DEFENDANTS



                             CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of February, 2022, I electronically transmitted

the attached document to the Clerk of Court using the ECF System for filing and transmittal

of Notice of Electronic Filing to all counsel of record who are registered participants of the

Electronic Case Filing System.


                                    s/ Emma V. Rolls___________




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